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11                                    UNITED STATES DISTRICT COURT
12                                NORTHERN DISTRICT OF CALIFORNIA
13                                       SAN FRANCISCO DIVISION
14
     UNITED STATES OF AMERICA,                       )   CASE NO. 3:18CR00252-001 WHO
15                                                   )
             Plaintiff,                              )   UNITED STATES’ SENTENCING
16                                                   )   MEMORANDUM
        v.                                           )
17                                                   )
     ANDREW STEPHEN FAYLONG,                         )   Date: June 25, 2020
18                                                   )   Time: 1:30 p.m.
             Defendant.                              )
19                                                   )
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21      I.       INTRODUCTION
22           On June 12, 2018, a one-count indictment was filed charging Andrew Stephen Faylong
23
     (Defendant) with a violation of 21 U.S.C. § § 841(a)(1) and 841(b)(1)(C) – Possession with Intent to
24
     Distribute Heroin (Count One).
25
             Defendant entered a plea of guilty by open plea on November 16, 2018. Defendant was referred
26
     to ATIP on March 13, 2019, and successfully completed the program on April 8 2019. He is scheduled
27
     to be sentenced before the Honorable William H. Orrick, III on June 25, 2020, at 1:30 p.m.
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 1 II.      FACTUAL BACKGROUND

 2           Andrew Faylong was identified as a mid-level heroin dealer from Sonoma County.

 3 PSR ¶ 6. Faylong was on probation with a warrantless search and seizure of his person,

 4
     property, and personal business or vehicle at any time of the day or night. PSR ¶ 8. A GPS
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     tracker was attached to Faylong’s vehicle and a probation search conducted at his residence.
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     PSR ¶ 8, 9. According to Faylong, he told officers there was an unloaded gun in his closet.
 7
     PSR ¶ 9. Agents found drug paraphernalia with black tar heroin residue, a half ounce of
 8

 9 marijuana, four ounces of heroin, heroin residue, approximately 100 hydrocodone tablets

10 without a prescription, and a stack of approximately $100 in one-dollar bill dominations, three

11 suboxone strips, and hand written notes with names and phone numbers, PSR ¶ 11, 12. DEA

12
     lab reports the drug quantity is 69.16 grams of heroin. PSR ¶ 15. Agents also found an
13
     unloaded .22 derringer type pistol. PSR ¶ 12. Faylong was fully cooperative during the
14
     detention.
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     III.   CRIMINAL HISTORY
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             The United States Probation Officer calculated Defendant’s criminal history as CHC VI.
19
     Defendant, currently 38 years old, has a string of seven petty theft and burglary convictions between
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     ages 25 and 30; a 2009 conviction at age 26 for driving on a suspended license; and possession of drugs
21

22 in 2011 and 2012. The United States is in agreement with the USPO as CHC VI.

23 IV.       SENTENCING RECOMMENDATION

24           The PSR calculated a total offense level of 19, CHC VI, which results in a guideline

25 imprisonment range of 63 – 78 months. The PSR recommends a sentence of time served, probation, and

26 a $100 special assessment. The United States agrees with the PSR calculation of Total Offense level of

27 19 and Criminal History Category of VI.

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 1          The United States does not recommend a sentence however, it notes that the Court has discretion

 2 to impose a non-custodial sentence if appropriate based on the consideration of the § 3553(a) factors.

 3   In balancing the aggravating and mitigating factors, considering the serious nature of the offense,

 4 defendant’s substantial criminal history, his childhood trauma, his long-term drug addiction, and his

 5
     positive performance while in ATIP, it appears that Defendant’s criminal conduct is related to his long-
 6
     standing struggle with addiction. His post-plea performance appears to have mitigated his risk of
 7
     recidivism. Because the Defendant’s post-plea performance has been successful, the United States
 8
     urges this Court to impose a period of supervised release or probation sufficient to continue the services
 9

10 recommended by probation.

11 V.       CONCLUSION
12          The United States requests that the Court consider the aggravating and mitigating factors to
13 determine if the Defendant presents a significant risk of recidivism pursuant to 18 U.S.C. § 3553(a), to

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     consider an appropriate sentence, and to impose a period of probation to continue services recommended
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     in the PSR.
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18                                                        Respectfully submitted,
19                                                        DAVID L. ANDERSON
                                                          United States Attorney
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21                                                        /s/ Cynthia Stier
                                                          CYNTHIA STIER
22                                                        Assistant United States Attorney

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